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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

JAMES HARPER                                 :
                                             :      CIVIL ACTION NO.: 1-20-cv-00771-JD
                                             :
                      Plaintiff,             :
                                             :
               v.                            :
                                             :
CHARLES P. RETTIG,                           :
IN HIS OFFICIAL CAPACITY AS                  :
COMMISSIONER                                 :
INTERNAL REVENUE SERVICE,                    :
                                             :
               &                             :
                                             :
INTERNAL REVENUE SERVICE,                    :
                                             :
               &                             :
                                             :
JOHN DOE IRS AGENTS 1-10,                    :
                                             :
                                             :
                      Defendants.            :

                                    NOTICE OF APPEAL

       Notice is hereby given that James Harper (Plaintiff) in the above-named case hereby

appeals to the United States Court of Appeals for the First Circuit from the Final Order and

Judgment entered in this action on the 23rd day of March, 2021 dismissing the case (Electronic

Case File Document Numbers 17 and 18 in the District of New Hampshire).

       Respectfully submitted, this 20th day of April, 2021.


                                                            Jared Bedrick
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                                      /s/ Aditya Dynar
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